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                                 Exhibit 3



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                               Page 1
                UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS

      MDL No. 1456     Master File No. 01-CV-12257-PBS

    -------------------------------------X

    In re:   PHARMACEUTICAL INDUSTRY        )

    AVERAGE WHOLESALE PRICE LITIGATION      )

    -------------------------------------X

    United States of America ex rel         )

    Ven-A-Care of the Florida Keys,         )

    Inc., et al. v. Dey, Inc., et al.,      )

    Civil Action No. 05-11084-PBS           )

    -------------------------------------X

    United States of America ex rel         )

    Ven-A-Care of the Florida Keys, Inc.,)

    et al. v. Boehringer Ingelheim Corp.,)

    et al., Civil Action No. 07-10248-PBS)

    -------------------------------------X

       30(b)(6) DEPOSITION OF THE STATE OF ALASKA

        DEPARTMENT OF HEALTH AND SOCIAL SERVICES

                DESIGNEE:   DAVID CAMPANA

                Thursday, August 21, 2008

                     Anchorage, Alaska




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                                                                               Page 2
  1
                             A-P-P-E-A-R-A-N-C-E-S
  2

  3
      For Plaintiff United States of America:
  4

  5
               George B. Henderson, II, Esq.
  6
               (via speaker phone)
  7
               Assistant Attorney General
  8
               Office of the United States Attorney
  9
               United States Courthouse
10
               1 Courthouse Way, Suite 9200
11
               Boston, Massachusetts 02210
12
               (617) 748-3282
13

14

15
      For the State of Alaska:
16

17
               Richard M. Burnham, Esq.
18
               NEIDER & BOUCHER, SC
19
               440 Science Drive
20
               Madison, Wisconsin 53705-0510
21
               (608) 661-4500
22




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                                                                           Page 266
  1
                      MR. HENDERSON:          Now, I would like to
  2
      have item C marked as the next exhibit.
  3
                             (Exhibit DC US 003 marked.)
  4
               Q.     This is a copy of two pages from a
  5
      federal register publication dated July 31, 1987,
  6
      am I correct?
  7
               A.     Yes.
  8
               Q.     Now, that is the same publication
  9
      that's referenced in Exhibit B in section 43.591,
10
      subparagraph D; is that right?
11
                      MS. WITT:       Objection.         There is no
12
      Exhibit B.
13
               Q.     I'm sorry.        Exhibit No. 2.
14
               A.     And let's see.          In which paragraph
15
      again?
16
               Q.     Paragraph D.
17
               A.     "D" as in dog?
18
               Q.     "D" as in dog.
19
               A.     Yes.     I see CFR 447.331.
20
               Q.     Referring to Exhibit No. 3, the federal
21
      register publication, I direct your attention to
22
      Section 447.301 entitled "Definitions".

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                                                                           Page 267
  1
               A.     Okay.
  2
               Q.     And if you could read aloud the
  3
      definition of "estimated acquisition cost".
  4
               A.     "Estimated acquisition cost means the
  5
      agency's best estimate of the price generally and
  6
      currently paid by providers for a drug marketed
  7
      or sold by a particular manufacturer or labeler
  8
      in the package size of the drug most frequently
  9
      purchased by providers."
10
               Q.     Now, can you tell me, Mr. Campana,
11
      whether you have an understanding about whether
12
      the words "estimated acquisition cost" in the
13
      Alaska regulation are meant to be consistent with
14
      that federal definition that you just read?
15
                      MS. WITT:       Object to form.
16
               A.     Yes.
17
               Q.     You believe the terms in the state's
18
      regulation are intended to be consistent with the
19
      federal regulation?
20
               A.     Yes.
21
               Q.     To your knowledge, has the federal
22
      government, the Department of Health and Human

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                                                                           Page 268
  1
      Services ever issued an interpretation of
  2
      estimated acquisition cost that is different from
  3
      the one that you just read aloud to us?
  4
                      MS. WITT:       Objection; form.
  5
               A.     I'm not aware of any.
  6
               Q.     When your agency has implemented the
  7
      estimated acquisition cost provisions, Section
  8
      43.591-D, of its regulations, has your agency
  9
      attempted to determine estimated acquisition
10
      costs in accordance with the federal definition?
11
                      MR. TORBORG:         Object to form.
12
               A.     Yes, they did.          As far as I understand,
13
      they did.
14
               Q.     Now, coming back to Exhibit No. 2, the
15
      Alaska regulation, subsection G on the second
16
      page deals with -- sets forth a somewhat involved
17
      formula for determining the dispensing fee; is
18
      that fair to say?
19
               A.     Yes.
20
               Q.     And does that formula take into account
21
      the size of the pharmacy and the amount of the
22
      Medicaid business, among other things?

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                                                                           Page 270
  1
      documented costs of dispensing, plus a reasonable
  2
      profit factor via a dispensing fee, which will
  3
      vary for each pharmacy based on those individual
  4
      characteristics which accurately reflect their
  5
      costs to dispense."
  6
                      Did I read that correctly?
  7
               A.     Yes.
  8
               Q.     And can you tell me whether the
  9
      intention that is reflected in the paragraph that
10
      I just read is incorporated, in particularly as
11
      regards a profit factor, is incorporated in that
12
      73 cent profit that you referred to that is in
13
      the state regulation, subparagraph G?
14
                      MR. KATZ:       Objection; form.
15
               A.     The reasonable profit that -- it's my
16
      understanding that the reasonable profit factor
17
      that was addressed in this letter is the
18
      equivalent to the 73 cents that is listed in the
19
      regulation.
20
               Q.     Now, do you have any understanding as
21
      to whether or not this profit factor is linked in
22
      any way to the amount of the estimated

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                                                                           Page 271
  1
      acquisition cost?
  2
               A.     I do not believe.
  3
                      MR. KATZ:       Objection; form.
  4
               A.     I do not believe it is linked to the
  5
      acquisition cost.
  6
               Q.     Do you have any understanding as to
  7
      whether or not the determination of the
  8
      dispensing fee is separate and distinct from the
  9
      determination of the estimated acquisition cost?
10
                      MR. KATZ:       Objection; form.
11
               A.     It's my understanding that the
12
      dispensing fee was independent of the ingredient
13
      cost, and there was -- and there was a separate
14
      survey to determine a dispensing fee and then a
15
      different survey for the ingredient cost.
16
               Q.     And those were separate efforts that
17
      the agency undertook in 1989?
18
               A.     That is my understanding.
19
               Q.     Do you have an understanding of what
20
      the -- what, if any, policy of the Federal
21
      Department of Health and Human Services has been
22
      on whether or not the determination of the

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                                                                           Page 272
  1
      dispensing fee should be separate and distinct
  2
      from the determination of estimated acquisition
  3
      costs?
  4
                      MR. TORBORG:         Object to form.
  5
               A.     It is my understanding that they wanted
  6
      those reviewed separately and determined
  7
      separately.
  8
                      MR. HENDERSON:          I would like to ask Mr.
  9
      Burnham to have marked what I identified as item
10
      D as the next exhibit.
11
                             (Exhibit DC US 004 marked.)
12
               Q.     Mr. Campana, you have been handed
13
      Exhibit No. 4, which is a September 15, 1994
14
      document on the letterhead of the Department of
15
      Health and Human Services, Health Care Finance
16
      Administration Region 10 entitled "Title XIX
17
      State Agency Letter Number 94-43".
18
                      Do you have that document in front of
19
      you?
20
               A.     Yes.
21
               Q.     Is Alaska within the oversight and
22
      responsibilities of Region 10 of what is now

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                                                                           Page 308
  1
      Exhibit 32, which was the document containing
  2
      summaries of testimony --
  3
               A.     And what is your question on that
  4
      again?
  5
               Q.     My question, if you could turn to page
  6
      12 of that document at the bottom and read for
  7
      us, if you would, what Mr. -- read for us
  8
      starting at the bottom paragraph beginning with
  9
      "Mr. Ron Sedwick".
10
                      MS. WITT:       Object to form.
11
               Q.     Read to us what he said --
12
                      MS. WITT:       Object.
13
               Q.     -- according to this document?
14
                      MS. WITT:       Same objection.
15
               A.     In this document, Mr. Ron Sedwick,
16
      pharmacist from Juneau, member of the Alaska
17
      Pharmacy Association and member of the Pharmacy
18
      Steering Committee, said that DHSS based its
19
      program on the published AWP because it was the
20
      starting point for the only computer tape able to
21
      deal with the program.
22
                      He said that AWP is the actual price he

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                                                                           Page 309
  1
      pays the wholesaler before discounts.                       Discounts
  2
      can be gained by ordering certain quantities of
  3
      drugs or by paying in advance, the result of
  4
      which is a cost savings to the pharmacists in
  5
      Alaska of AWP minus 10 percent.
  6
                      He commented that the discount was
  7
      earned and was a way to increase his margin by
  8
      operating prudently, but DHSS was trying to
  9
      confiscate the margin.
10
               Q.     Thank you.       Now, I would like Mr.
11
      Burnham to mark as the next -- have marked as the
12
      next exhibit what I identified as item H.
13
                      MR. BURNHAM:         Bunker, I have no H here
14
      in the documents Mr. Picket left.                     I have an E,
15
      an F, a J and a K.
16
                      MR. HENDERSON:          Okay.      We're missing
17
      more documents.
18
                      MR. BURNHAM:         By the way, you were
19
      referencing earlier a March 31st letter.                           There
20
      is one such letter in the prior exhibits.
21
                      I don't know if it's the right one,
22
      from Hansen to Ruth Alton.                 Was that the March

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                                                                           Page 310
  1
      31st letter you were interested in?
  2
                      MR. HENDERSON:          No.    Thank you.
  3
      BY MR. HENDERSON:
  4
               Q.     Mr. Campana, I'm going to read to you
  5
      from an exhibit in another deposition.
  6
                      MR. KATZ:       Is this the exhibit we don't
  7
      have?
  8
                      MR. HENDERSON:          Correct.
  9
                      MR. KATZ:       I'm going to have to object
10
      to this because I can't see the contents.                            I
11
      can't see the document.
12
                      MR. HENDERSON:          Who is speaking,
13
      please?
14
                      MR. KATZ:       This is Cliff Katz.
15
                      MR. TORBORG:         I join the objection.
16
                      MR. HENDERSON:          Well, subject to your
17
      objections, I'll proceed.
18
      BY MR. HENDERSON:
19
               Q.     I'll represent to you, Mr. Campana,
20
      that this is a publication of FirstDataBank
21
      called "Monthly Interest" dated September 1991.
22
                      And in this document, FirstDataBank

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                                                                           Page 311
  1
      states:        "AWP represents an average price which a
  2
      wholesaler would charge a pharmacy for a
  3
      particular product.
  4
                      The operative word is 'average'.                       AWP
  5
      never means that every purchase of that product
  6
      would be exactly at that price.                    There are many
  7
      factors involved in pricing at the wholesale
  8
      level which can modify the prices charged, even
  9
      among a group of customers from the same
10
      wholesaler," end quote.
11
                      Is that description of AWP consistent
12
      or inconsistent with your understanding of AWP in
13
      the early 1990s?
14
                      MS. WITT:       Objection.
15
                      MR. KATZ:       Objection; form,
16
      mischaracterizes the evidence and the testimony.
17
               A.     Can I have you read that again?
18
               Q.     "AWP represents an average price which
19
      a wholesaler would charge a pharmacy for a
20
      particular product.             The operative word is
21
      'average'.
22
                      AWP never means that every purchase of

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                                                                           Page 312
  1
      that product will be exactly at that price.
  2
      There are many factors involved in pricing at the
  3
      wholesale level which can modify the prices
  4
      charged, even among a group of customers from the
  5
      same wholesaler."
  6
                      MS. WITT:       Objection; form.
  7
               A.     And that was my understanding of
  8
      average wholesale at the time I was working at --
  9
      for the state, based on my date of employment.
10
               Q.     Now, I would like to -- Mr. Burnham, do
11
      you have what I -- I think we're at -- no, wait a
12
      second.        I think we do not have --
13
                      Forgive me.        I'm trying to figure out
14
      what documents we have and what we don't.
15
                      I would like to refer your attention to
16
      Exhibit 41.        This is a December 21, 1989 letter
17
      to Albert J. Bents, which was discussed
18
      previously.
19
                      And is it fair to say, Mr. Campana, is
20
      this letter a letter from the Alaska Medicaid
21
      agency to HCFA providing some additional
22
      information in support of the agency's attempt to

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                                                                           Page 326
  1
               A.     Not that I recall.
  2
               Q.     I would like to have Mr. Burnham show
  3
      you, if he has it, what I marked as item F.
  4
                             (Exhibit DC US 009 marked.)
  5
               Q.     Could you tell us what this is, Mr.
  6
      Campana?
  7
               A.     This is a memo through my supervisor
  8
      who was in effect at that time to the Medicaid
  9
      director Bob Labbe.
10
               Q.     Tell us what prompted you to write this
11
      memorandum.
12
               A.     This was written following the
13
      placement of the DOJ pricing into the average
14
      wholesale price on FirstDataBank submission to
15
      our drug formulary.
16
               Q.     And at or around this time, did you
17
      come to learn that inflated average wholesale
18
      prices were being published as a result of
19
      intentionally false reporting practices of
20
      certain drug manufacturers?
21
                      MS. WITT:       Objection; form.
22
                      MR. TORBORG:         Objection.

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                                                                           Page 327
  1
               A.     I remember in an AMPA meeting, American
  2
      Medicaid Pharmacy Administrators meeting there
  3
      was some discussion about prices that were
  4
      submitted and called average wholesale prices
  5
      that were extraordinarily above the actual
  6
      acquisition cost.
  7
               Q.     Now, the third paragraph indicates that
  8
      you had had some discussions with providers about
  9
      the issue of using these new AWPs, these DOJ
10
      AWPs; is that right?
11
               A.     That is correct.
12
               Q.     And tell us about the discussions you
13
      had with certain providers.
14
               A.     The providers indicated that they could
15
      not purchase the drugs at our reimbursement, that
16
      they could not -- their acquisition costs were
17
      above what our reimbursement was for these drugs.
18
               Q.     Now, the third paragraph says, "The
19
      providers who have discussed this issue with us
20
      say there were value-added services that they
21
      provided free of charge while receiving
22
      exorbitant reimbursements."

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                                                                           Page 328
  1
                      Do you recall having such discussions
  2
      with certain providers?
  3
               A.     Yes.
  4
               Q.     The next sentence says, "These services
  5
      included free IV nursing, free infusion supplies,
  6
      free shipping, free delivery and free night
  7
      call."
  8
                      Do you recall that?
  9
               A.     Yes.
10
               Q.     And then in the next sentence you
11
      remark, "Since we were never billed for these
12
      services, it is difficult to find if these
13
      services were provided."
14
                      Could you tell us what you meant by
15
      that?
16
               A.     Since there wasn't a billing mechanism
17
      for those, we didn't have any data saying that
18
      those were actually provided, other than
19
      anecdotal information.
20
               Q.     Now, with these services that were
21
      apparently provided for free because of
22
      exorbitant reimbursements, were these services

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                                                                           Page 329
  1
      that would otherwise have been appropriately
  2
      billed to Medicaid?
  3
               A.     The infusion supplies could have been
  4
      billed.        The shipping could have been billed.
  5
      The delivery, only if it was -- the provider was
  6
      in the urban area, Anchorage and was sending
  7
      those by mail out to some outlying area.
  8
                      The night call could not have been
  9
      billed or recovered, at least under the
10
      reimbursement formula during that time.
11
               Q.     Did you do any follow-up to see whether
12
      or not any of the so-called services that were
13
      provided free of charge were in fact billed for?
14
               A.     Not that I can remember.
15
               Q.     Are you just recounting here the
16
      discussions that you had with certain providers?
17
               A.     I was memorializing those encounters
18
      that I had with providers.
19
               Q.     Now, the next paragraph says, "One
20
      hemophilia blood factor provider, Care For Life,
21
      indicated they donated many of their profits to
22
      the Alaska Hemophilia Association.

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                                                                           Page 330
  1
                      These donations allowed the Alaska
  2
      Hemophilia Association to offer specialized
  3
      clinics for education and treatment of
  4
      hemophilia.        However, these excess profits were
  5
      provided by our generous Medicaid reimbursement
  6
      based on erroneous AWPs."
  7
                      Did I read that correctly?
  8
               A.     You read it correctly.
  9
               Q.     Does Alaska Medicaid pay for donations
10
      for education and treatment of hemophilia?
11
               A.     Not directly.
12
               Q.     In Alaska, Mr. Campana, who has
13
      responsibility for determining whether a
14
      particular service should be covered and paid for
15
      by the Medicaid program?
16
               A.     It could be done by the legislature.
17
      They could determine that some service is covered
18
      and they want the Medicaid agency to carry that
19
      out.
20
                      Or it could be that the Medicaid agency
21
      finds where that can fit under a currently
22
      covered service and then implements that under a

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  1
      currently covered service.
  2
               Q.     In either event, the decision is made
  3
      by the state; is that right?
  4
               A.     That is correct.
  5
               Q.     It's not a decision that's left to the
  6
      provider?
  7
                      MS. WITT:       Objection; form.
  8
               A.     That is correct.
  9
               Q.     If that decision were left to the
10
      provider, do you have an opinion as to whether or
11
      not that would invite abuse?
12
                      MR. KATZ:       Objection; form.
13
               A.     My opinion is that it would invite
14
      abuse.
15
               Q.     And would Alaska lose control of its
16
      Medicaid expenditures if those decisions were
17
      left to the providers?
18
                      MR. KATZ:       Objection; form.
19
               A.     I believe so.
20
               Q.     The decision is not left to the
21
      manufacturer either, is it?
22
               A.     That is correct.

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  1
               Q.     And for the same reasons?
  2
               A.     Yes.
  3
                      MR. HENDERSON:          I have no further
  4
      questions.
  5

  6
                             RE-EXAMINATION
  7
      BY MS. WITT:
  8
               Q.     I have a few redirect questions.                       Mr.
  9
      Henderson asked you about the various challenges
10
      that Alaskans face due to its geographic position
11
      and its weather, and asked whether those had been
12
      taken into account in consideration of Medicaid
13
      reimbursement, correct?
14
               A.     Correct.
15
               Q.     Were any of those challenges ever
16
      described to CMS or HCFA in connection with
17
      Alaska's description of its justifications and
18
      reasons for the methodology that it wanted to
19
      adopt?
20
               A.     It's my understanding those were.
21
               Q.     Alaska made sure that the federal
22
      agency understood the unique challenges that

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